
679 S.E.2d 139 (2009)
STATE of North Carolina
v.
Jean Rony DALEUS.
No. 181P09.
Supreme Court of North Carolina.
June 17, 2009.
Jean Rony Daleus, Pro Se.
Catherine F. Jordan, Assistant Attorney General, Edward W. Grannis, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 4th day of May 2009 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 17th day of June 2009."
